                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE


CITY OF PORTLAND and TENNESSEE                     )
MUNICIPAL LEAGUE RISK                              )
MANAGEMENT POOL, INC.                              )
                                                   )
v.                                                 )      NO. 3:12cv1316
                                                   )      JUDGE CAMPBELL
BANK OF AMERICA, N.A.                              )
                                                   )


                                  ENTRY OF JUDGMENT


              Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(a) of the
Federal Rules of Civil Procedure on 3/6/2014.



                                                   KEITH THROCKMORTON, CLERK
                                                   s/Tina M. Webster, Deputy Clerk




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